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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                    )           CASE NO. 8:05CR444
                                             )
                    Plaintiff,               )
                                             )
      vs.                                    )                    ORDER
                                             )
DEDRICK M. JONES,                            )
                                             )
                    Defendant.               )

      Upon Defendant’s oral motion to continue the Sentencing Hearing in this matter:

      IT IS ORDERED:

      The Sentencing Hearing has been rescheduled before District Judge Laurie Smith

Camp to the July 6, 2006, at 8:30 a.m., in Courtroom No. 2, Third Floor, Roman L. Hruska

Courthouse, 111 S. 18 th Plaza, Omaha, Nebraska.

      Dated this 7th day of June, 2006.

                                                 BY THE COURT:

                                                 s/Laurie Smith Camp
                                                 United States District Judge
